21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 1 of
                                        26



                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION
  In re:                                     §
  LOADCRAFT INDUSTRIES, LTD.                 §      Case No. 21-11018-tmd
                                             §
                                             §


                       DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION




  Eric J. Taube
  Texas Bar No. 19679350
  Mark C. Taylor
  Texas Bar No. 19713225
  WALLER LANSDEN DORTCH & DAVIS, LLP
  100 Congress Avenue, Suite 1800
  Austin, Texas 78701
  Telephone: (512) 685-0000
  Facsimile: (512) 685-6417

  ATTORNEYS FOR DEBTOR




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 2 of
                                        26



                                                      TABLE OF CONTENTS


  ARTICLE I. INTRODUCTION ...................................................................................................1
  ARTICLE II. DEFINITIONS, RULES OF INTERPRETATION, AND CONSTRUCTION
  OF TERMS .....................................................................................................................................1
  ARTICLE III. DESIGNATION OF CLAIMS AND INTERESTS ..........................................7
             3.1        Summary. .................................................................................................................7
             3.2        Identification of Classes. ..........................................................................................7
             3.3        Identification of Impaired and Unimpaired Classes. ...............................................8
             3.4        Impaired Classes Entitled to Vote............................................................................8
             3.5        Impaired Classes Not Entitled to Vote.....................................................................8
             3.6        Controversy Concerning Classification, Impairment or Voting Rights...................8
  ARTICLE IV. PROVISIONS RELATED TO CERTAIN ADMINISTRATIVE CLAIMS ..8
             4.1        Administrative Claims. ............................................................................................8
  ARTICLE V. CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS AND
  INTERESTS ...................................................................................................................................9
             5.1        Classified Claims. ....................................................................................................9
  ARTICLE VI Treatment of Executory Contracts and Unexpired Leases .............................11
             6.1        Assumption or Rejection of Executory Contracts and Unexpired Leases. ............11
             6.2        Objections to Assumption and Assignments of Executory Contracts and
                        Unexpired Leases. ..................................................................................................11
             6.3        Payments Related to Assumption of Executory Contracts and Unexpired
                        Leases.....................................................................................................................12
             6.4        Bar Date for Rejection Damages. ..........................................................................12
             6.5        No Admission. .......................................................................................................12
             6.6        Rejection of Executory Contracts. .........................................................................12
  ARTICLE VII. CONDITIONS PRECEDENT .........................................................................13
             7.1        Conditions Precedent to Confirmation...................................................................13
             7.2        Conditions Precedent to Effective Date. ................................................................13
  ARTICLE VIII. PROVISIONS GOVERNING DISTRIBUTIONS .......................................13
             8.1        Distributions Generally. .........................................................................................13
             8.2        Distributions on Disputed Claims. .........................................................................13
             8.3        Delivery of Distributions. ......................................................................................13
             8.4        Uncashed Checks. ..................................................................................................14
             8.5        Compliance with Tax Requirements. .....................................................................14
  ARTICLE IX. PROVISIONS FOR THE RESOLUTION OF OBJECTIONS TO CLAIMS
  AND EQUITY INTERESTS.......................................................................................................14
             9.1        Objections to Claims or Equity Interests. ..............................................................14
  040872-18219/4893-0244-8936.3


                                                                          i
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 3 of
                                        26



           9.2       Amendments to Claims; Claims filed After the Confirmation Date......................14
  ARTICLE X. MEANS FOR IMPLEMENTING PLAN ..........................................................15
           10.1      Sources of Payments. .............................................................................................15
  ARTICLE XI. EFFECT OF REJECTION BY ONE OR MORE CLASSES ........................15
           11.1      Impaired Classes to Vote. ......................................................................................15
           11.2      Acceptance by Class. .............................................................................................15
           11.3      Reservation of Cramdown Rights. .........................................................................16
  ARTICLE XII. EFFECT OF CONFIRMATION ....................................................................16
           12.1      Generally. ...............................................................................................................16
           12.2      Property. .................................................................................................................16
  ARTICLE XIII. RETENTION OF JURISDICTION ..............................................................16
           13.1      Exclusive Bankruptcy Court Jurisdiction. .............................................................16
           13.2      Limitation on Jurisdiction. .....................................................................................17
  ARTICLE XIV. MISCELLANEOUS PROVISIONS ..............................................................17
           14.1      Effectuating Documents and Further Transactions................................................17
           14.2      Severability. ...........................................................................................................17
           14.3      Final Allowance. ....................................................................................................18
           14.4      Consummation. ......................................................................................................18
           14.5      Distribution Agent. ................................................................................................18
           14.6      Exemption from Certain Transfer Taxes and Recording Fees...............................18
           14.7      Further Authorization.............................................................................................18
           14.8      Means of Cash Payment.........................................................................................18
           14.9      Setoffs. ...................................................................................................................19
           14.10     Exculpation; Limitation of Liability; and Releases ...............................................19
           14.11     Default....................................................................................................................19
           14.12     Amendment or Modification of This Plan. ............................................................19
           14.13     Severability of Plan Provisions. .............................................................................20
           14.14     Revocation, Withdrawal, or Non-Consummation. ................................................20
           14.15     Due Authorization by Claimants. ..........................................................................20
           14.16     Filing of Additional Documentation. .....................................................................20
           14.17     Governing Law. .....................................................................................................20
           14.18     Successors and Assigns..........................................................................................21
           14.19     Notices. ..................................................................................................................21
           14.20     U.S. Trustee Fees. ..................................................................................................21
           14.21     Implementation. .....................................................................................................22
           14.22     No admission. ........................................................................................................22
           14.23     Conflicts. ................................................................................................................22




  040872-18219/4893-0244-8936.3


                                                                       ii
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 4 of
                                        26



           Loadcraft Industries, Ltd. (“Debtor” or “Loadcraft”) submits this proposed Plan of

  Reorganization (the “Plan”). A discussion of the Debtor’s history, business, properties and results

  of operations, and a summary of this Plan and certain related matters, can be found in the

  Disclosure Statement (the “Disclosure Statement”) filed by the Debtor in support of this Plan.

                                             ARTICLE I.
                                           INTRODUCTION

           The Debtor proposes the following Plan pursuant to the provisions of Chapter 11 of the

  U.S. Bankruptcy Code, 11 U.S.C. § 101 et seq. Capitalized terms used in this Plan and not

  otherwise defined shall have the meanings ascribed to them in Article II of this Plan or, if not

  defined therein, in Section 101 of the Code.

           Reference is hereby made to the Disclosure Statement, which discusses the history of the

  Debtor and their business, management, assets and liabilities. The Disclosure Statement also

  provides a summary of this Plan. You are urged to read the Disclosure statement with care in

  evaluating how this Plan will affect your Claim(s).

                               ARTICLE II.
   DEFINITIONS, RULES OF INTERPRETATION, AND CONSTRUCTION OF TERMS

           For purposes of this Plan, any reference in this Plan to an existing document or exhibit filed

  or to be filed means that document or exhibit as it may have been or may be amended,

  supplemented, or otherwise modified.

           The words “herein,” “hereof” and “hereunder” and other words of similar import refer

  to this Plan as a whole and not to any particular section, subsection or clause contained in this Plan,

  unless the context requires otherwise. The word “including” as used in this Plan means

  “including, without limitation.” The word “or” when used in this Plan means “and/or” unless

  the context clearly indicates otherwise. Whenever from the context it appears appropriate, each

  term stated in either the singular or the plural includes the singular and the plural, and pronouns

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 5 of
                                        26



  stated in the masculine, feminine or neuter gender include the masculine, feminine and the neuter.

  The section headings contained in this Plan are for reference purposes only and shall not affect in

  any way the meaning or interpretation of this Plan.

           In computing any period of time prescribed or allowed by this Plan, the provisions of

  Bankruptcy Rule 9006(a) shall apply.

          (a)   “Administrative Claim” means a Claim for costs and expenses of administration
  of the Bankruptcy Cases allowed under sections 503, 507(a)(2) or 507(b) of the Bankruptcy Code
  and approved by Final Order of the Bankruptcy Court, and all fees and costs assessed against the
  Estates pursuant to 28 U.S.C. § 1930. The term includes Professional Claims, Post- Petition Tax
  Claims, and Post-Confirmation Administrative Claims.

          (b)     “Allowed” means with reference to a Claim or any portion thereof (a) a Claim
  against a Debtor, proof of which, if required, was filed on or before the Bar Date, which is not a
  Disputed Claim; (b) an unknown Claim allowed hereunder or by a Final Order or (c) a Claim
  which has been scheduled by a Debtor and is not listed as “disputed”, “contingent” or
  “unliquidated”. An Allowed Claim does not include any Claim, or portion thereof, which is a
  Disallowed Claim or which has been subsequently withdrawn, disallowed, released or waived by
  the holder thereof or pursuant to a Final Order. Unless otherwise specifically provided in this Plan,
  or by a Final Order of the Court, an Allowed Claim shall not include any amount for punitive or
  exemplary damages, penalties, fines or post-petition interest.

          (c)    “Allowance Date” means the date on which a claim becomes an Allowed Claim,
  unless such Claim is “Allowed” solely under clause (b) of the definition of such term, in which
  case, the Allowance Date shall be no earlier than the day after the last day for filing objections to
  proofs of Claim under this Plan.

          (d)     “Ballot” means the form(s) distributed to holders of impaired Claims on which is
  to be indicated the acceptance or rejection of the Plan and whether the holder or such Claim agrees
  to the releases of third parties provided in the Plan.

         (e)    “Bankruptcy Case” means the bankruptcy cases of the Debtor, pending as Case
  No. 21-11018-tmd in the United States Bankruptcy Court for the Western District of Texas, Austin
  Division.

         (f)       “Bankruptcy Code” means title 11 of the United States Code, and applicable
  portions of titles 18 and 28 of the United States Code.

          (g)    “Bankruptcy Court” means the United States Bankruptcy Court for the Western
  District of Texas, Austin Division, or, if such court ceases to exercise jurisdiction, the court or
  adjunct thereof that exercises jurisdiction over the Bankruptcy Case.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 6 of
                                        26



          (h)    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
  amended and promulgated under section 2075 of title 28 of the United States Code, together with
  the local bankruptcy rules for the Bankruptcy Court as now in effect or as the same may from time
  to time hereafter be amended.

         (i)    “Bar Date” means the date set by the Bankruptcy Court as the last day for filing of
  proofs of Claim in the Bankruptcy Cases, which is May 2, 2022 for non-governmental entities,
  and 180 days from the Petition Date for governmental entities.

         (j)      “Books and Records” means the books and records of the Debtor which are kept
  by or on behalf of the Debtor in the ordinary course of business, including, without limitation, all
  engineering reports, architectural plans, site plans and any drafts of the foregoing that relate to the
  Debtor including its property (whether currently or formerly owned), along with any permits,
  correspondence, bank accounts, tax records, corporate records, accounting records, software,
  computers, franchise tax matters and any other records of the Debtor whether in the possession of
  the Debtor, its manager, officers, directors, shareholders or any accountants, lawyers, brokers or
  any other Person.

         (k)   “Brownwood Facility” shall mean the real property, improvements and persona
  property owned by the Debtor, located at 1001 Gifford Street, Brownwood, Texas.

         (l)     “Business Day” means any day which is not a Saturday, a Sunday, or a legal
  holiday within the meaning of Bankruptcy Rule 9006(a).

           (m)       “Claim” has the meaning set forth in Section 101(5) of the Bankruptcy Code.

           (n)       “Claimant” means the holder of a Claim.

          (o)    “Confirmation Date” means the date on which the clerk of the Bankruptcy Court
  enters the Confirmation Order on its docket.

         (p)    “Confirmation Hearing” means the hearing or hearings which will be held before
  the Bankruptcy Court under Bankruptcy Code § 1128 at which the Confirmation of this Plan will
  be requested.

         (q)     “Confirmation Order” means an order of the Bankruptcy Court confirming this
  Plan pursuant to section 1129 of the Bankruptcy Code, as such order may be amended, modified,
  or supplemented.

         (r)    “Convenience Claim” means any General Unsecured Claim that is Allowed in an
  amount of five hundred dollars ($500) or less; provided, however that (1) any Claim that was
  Allowed in excess of five hundred dollars ($500) may not be subdivided into multiple Claims of
  five hundred dollars ($500) or less for purposes of receiving treatment as a Convenience Claim,
  and (2) Claims in the same Class held by a Claimant shall be aggregated for purposes of
  determining whether such Claims are eligible to be Convenience Claims.

           (s)       “Debtor” has the meaning set forth in the preamble to this Plan.


  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 7 of
                                        26



          (t)     “Deficiency Claim” means any portion of a Claim (i) to the extent the value of the
  holder’s interest in the property securing such Claim is less than the amount of such Claim or (ii)
  to the extent the amount of a Claim is subject to setoff is less than the amount of the Claim, each
  as determined by Section 506(b) of the Bankruptcy Code.

         (u)    “Disallowed Claim” means a Claim or portion thereof that (i) has been disallowed
  by a Final Order; or (ii) was not filed by the Bar Date.

          (v)   “Disclosure Statement” means the Disclosure Statement with respect to this Plan,
  as approved by the Bankruptcy Court as containing adequate information for the purpose of
  dissemination and solicitation of votes on and confirmation of this Plan, as such Disclosure
  Schedule may be altered, amended or modified from time to time in accordance with the provisions
  of the Bankruptcy Code and the Bankruptcy Rules.

          (w)    “Disposition”, “Disposed of” and other forms of the word “Dispose”, when
  capitalized herein, refer to the sale, transfer, or other hypothecation of an asset to a person other
  than the Debtor.

          (x)    “Disputed Claim” means a Claim, or any portion thereof, that is set forth in a filed
  Proof of Claim (a)that differs in nature, amount or priority from the Bankruptcy Schedules, or (b)
  that is the subject of an objection filed by the Debtor or any other party-in-interest and which
  objection has not been withdrawn or overruled by a Final Order of the Bankruptcy Court; provided,
  however, that with respect to an Administrative Claim, “Disputed Claim” means an
  Administrative Claim that is not an Allowed Claim or a Disallowed Claim.

          (y)        “Disputed Claims Reserves” means the reserve account established pursuant to
  this Plan.

         (z)     “Distribution” means a distribution of money or property pursuant to the
  provisions of this Plan.

          (aa) “Distribution Agent” shall be the person designated by the Debtor to make
  distributions under the Plan. With respect to all Classes, the Reorganized Debtor shall act as the
  Distribution Agent.

          (bb) “Distribution Date” means any date on or after the Effective Date on which
  distributions of Available Cash should be made pursuant to this Plan.

         (cc) “Effective Date” means the first Business Day following fourteen days from
  confirmation of the Plan and on which no stay of the Confirmation Order is in effect and all
  conditions to the effectiveness of the Plan have been satisfied or waived.

          (dd) “Equity Interest” means any ownership interest or share in the Debtor (including,
  without limitation, all options, warrants or other rights to obtain such an interest or share in the
  Debtor) whether or not transferable, preferred, common, voting, or denominated “stock” or a
  similar security.



  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 8 of
                                        26



          (ee) “Estate” means, as to each Debtor, the estate created for such Debtor pursuant to
  section 541 of the Bankruptcy Code.

         (ff)    “Estate Causes of Action” means any and all rights, claims and causes of actions
  which a Debtor or other appropriate party in interest would be able to assert on behalf of an Estate
  under applicable state or federal common law, any state or federal statute or the avoidance statutes
  of chapter 5 of the Bankruptcy Code, including actions under one or more of the provisions of
  Bankruptcy Code §§ 506, 542-551 and 553.

          (gg) “Exculpated Party” or “Exculpated Parties” means the Debtor and their agents,
  officers, directors, managers, employees, representatives, attorneys, advisors affiliates,
  shareholders, or members, or any of their successors or assigns

         (hh) “Executory Contract” means, collectively, “executory contracts” and
  “unexpired leases” of the Debtor as of the Petition Date, as such terms are used in section 365 of
  the Bankruptcy Code.

          (ii)   “Final Decree” means the final decree entered by the Bankruptcy Court on or after
  the Effective Date pursuant to Bankruptcy Rule 3022.

           (jj)    “Final Order” means an order or judgment (a) as to which time to appeal, petition
  for certiorari or move for re-argument or rehearing has expired and as to which no appeal, petition
  for certiorari, or other proceeding for re-argument or rehearing shall then be pending; or (b) in the
  event an appeal, writ of certiorari, or motion for re-argument or rehearing has been filed or sought,
  such order or judgment shall have been affirmed by the highest court to which such order or
  judgment was appealed, or certiorari has been denied, or from which a motion for re-argument or
  rehearing was sought, and the time to take any further appeal, petition for certiorari, or move for
  re-argument or rehearing shall have expired; provided, however, that no order or judgment shall
  fail to be a Final Order solely because of the filing or pendency of a motion pursuant to Rule 60
  of the Federal Rules of Civil Procedure unless such motion shall have been filed within ten (10)
  days of the entry of the order or judgment at issue.

          (kk) “General Unsecured Claim” means any Claim that is not an Administrative
  Claim, a Priority Claim, a Priority Tax Claim, a Secured Claim, or a Convenience Class Claim and
  shall include any Claim arising from the rejection of an Executory Contract pursuant to 11 U.S.C.
  § 365.

          (ll)  “Governmental Unit” means a governmental unit as such term is defined in
  section 101(27) of the Bankruptcy Code.

         (mm) “Lien” means a valid and enforceable lien, mortgage, security interest, pledge,
  charge, encumbrance, or other legally cognizable security device of any kind.

          (nn) “Notice Parties” means the Debtor, the Debtor’ counsel, and all persons requesting
  notice in the Bankruptcy Case.

         (oo) “Ordinary Course of Business” shall have the meaning provided under 11 U.S.C.
  § 363 and judicial interpretations thereof.

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 9 of
                                        26



          (pp) “Person” means and includes natural persons, corporations, limited partnerships,
  general partnerships, joint ventures, trusts, land trusts, business trusts, unincorporated
  organizations, or other legal entities, irrespective of whether they are governments, agencies or
  political subdivisions thereof.

           (qq)      “Petition Date” means December 30, 2021.

         (rr)   “Plan” means this Chapter 11 Plan, either in its present form or as it may be altered,
  amended or modified from time to time in accordance with the provisions of the Bankruptcy Code
  and the Bankruptcy Rules.

        (ss)    “Plan Supplement” means all documents, forms, lists, and agreements
  contemplated under the Plan to effectuate the terms and conditions hereof.

           (tt)      “Post-Petition Tax Claims” has the meaning set forth in Section 4.1(c)(iii).

         (uu) “Priority Claim” means a Claim entitled to priority in payment under section
  507(a) of the Bankruptcy Code, excluding any Claim that is an Administrative Claim or a Priority
  Tax Claim.

         (vv) “Priority Tax Claim” means a Claim entitled to priority in payment under section
  507(a)(8) of the Bankruptcy Code.

          (ww) “Pro Rata Share” means, with respect to any distribution to a Class under this
  Plan, as of any particular Distribution Date, proportionate sharing pursuant to which (a) the ratio
  that the cumulative amount of all funds distributed or reserved on account of each Claim in such
  Class bears to the amount of such Claim is equal to (b) the ratio that the cumulative amount
  distributed or reserved on account of all Claims in such Class bears to the total amount of all
  Claims in such Class that are entitled to receive a distribution or against which a reserve is required
  to be made.

         (xx) “Professional” means any Person employed or to be compensated pursuant to
  sections 327, 328, 330, 331, 503(b), or 1103 of the Bankruptcy Code.

         (yy) “Professional Claim” means a Claim by a Professional for compensation and/or
  reimbursement of expenses pursuant to sections 327, 328, 330, 331, 503(b) or 1103 of the
  Bankruptcy Code in connection with an application made to the Bankruptcy Court in the
  Bankruptcy Cases.

          (zz) “Reserved Causes of Action” means those claims and causes of action specified
  in the Disclosure Statement as constituting Reserved Causes of action.

          (aaa) “Schedules” means the Schedules and Statement of Financial Affairs filed by the
  respective Debtor with the clerk of the Bankruptcy Court pursuant to Bankruptcy Rule 1007, as
  they have been or may be amended or supplemented from time to time in accordance with
  Bankruptcy Rule 1009.



  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 10
                                      of 26



          (bbb) “Secured Claim” means any Claim or portion thereof against the Debtor that is
  reflected in a proof of Claim or otherwise asserted as secured by a perfected Security Interest in,
  or Lien on, any property of one or both of the Debtor, or the net proceeds from the sale of such
  property, in which a Debtor has an interest, to the extent of the value, as of the Petition Date (or
  such other date as is established by the Bankruptcy Court) of such security interest or Lien as
  determined by a non-appealable Final Order pursuant to section 506 of the Bankruptcy Code or as
  otherwise agreed in writing by the holder of such Claim and (i) a Debtor (if such agreement is
  effectuated prior to the Effective Date), or (ii) a Setoff Claim.

         (ccc) “Security Interest” has the meaning ascribed to such term in section 101(51) of
  the Bankruptcy Code.

          (ddd) “Senior in Priority” means, as to any of the following Classes or categories of
  unsecured Claims, classes or categories that have a higher priority, in the following descending
  order: (a) first, Administrative Claims; (b) Third, Priority Tax Claims; and (c) third, General
  Unsecured Claims.

         (eee) “Substantial Consummation” means the accomplishment of the transactions
  required under Article VII of this Plan, in accordance with Bankruptcy Code § 1101(2).

         (fff) “Trust Fund Taxes” means the amount of taxes that the Debtor is required to remit
  to a governmental authority for which the non-payment would create personal liability for an
  individual.

                                          ARTICLE III.
                              DESIGNATION OF CLAIMS AND INTERESTS

           3.1       Summary.

                   (a)    Pursuant to Bankruptcy Code section 1122, a Claim or Equity Interest is
  placed in a particular Class for purposes of voting on this Plan and receiving Distributions under
  this Plan only to the extent (i) the Claim or Equity Interest qualifies within the description of that
  Class; and (ii) the Claim or Equity Interest is an Allowed Claim or Allowed Equity Interest in that
  Class.

                 (b)      A Claim or Equity Interest which is not an Allowed Claim or Allowed
  Equity Interest is not in any Class, and notwithstanding anything to the contrary contained in this
  Plan, no Distribution shall be made on account of any Claim or Equity Interest which is not an
  Allowed Claim or Allowed Equity Interest.

           3.2       Identification of Classes.

                     1)       Class I: Administrative
                     2)       Class II: Priority Tax/Secured Claims
                     3)       Class III: Priority Non-Tax Claims
                     4)       Class IV: Allowed General Unsecured Claims
                     5)       Class V: Allowed Convenience Class Claims.
                     6)       Class VI: Equity Interests

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 11
                                      of 26




           3.3       Identification of Impaired and Unimpaired Classes.

                     All classes of claims are impaired except Class I and II.

           3.4       Impaired Classes Entitled to Vote.

                     All classes of claims are entitled to vote except Classes I and II.

           3.5       Impaired Classes Not Entitled to Vote.

                     Class VI.

           3.6       Controversy Concerning Classification, Impairment or Voting Rights.

          In the event a controversy or dispute should arise involving issues related to the
  classification, impairment or voting rights of any Creditor or Claimant under this Plan, whether
  before or after the Confirmation Date, the Bankruptcy Court may, after notice and a hearing,
  determine such controversy. Without limiting the foregoing, the Bankruptcy Court may estimate
  for voting purposes (i) the amount of any contingent or unliquidated Claim, the fixing or
  liquidation of which, as the case may be, would unduly delay the administration of these
  Bankruptcy Cases; and (ii) any right to payment arising from an equitable remedy for breach of
  performance. In addition, the Bankruptcy Court may, in accordance with section 506(b) of the
  Bankruptcy Code, conduct valuation hearings to determine the Allowed amount of any Secured
  Claim. Any class not occupied at the time of the Confirmation hearing shall be deemed eliminated.

                                  ARTICLE IV.
              PROVISIONS RELATED TO CERTAIN ADMINISTRATIVE CLAIMS

           4.1       Administrative Claims.

                 (a)     General: Subject to the subsection 4.1(c), unless otherwise agreed to by
  such holder, on each Distribution Date, each holder of an Allowed Administrative Claim shall
  receive from the Distribution Agent an amount equal to the (1) Allowed Administrative Claim or
  (2) such amount as may be agreed to between the holder of such claim and the Debtor.

                  (b)     Payment of Statutory Fees: All fees payable pursuant to 28 U.S.C. §1930
  shall be paid in cash, when due.

                     (c)      Bar Date for Administrative Claims:

                         (i)    General Provisions: Except as otherwise provided in this
  Article IV, requests for payment of Administrative Claims must be included within a motion or
  application and filed no later than thirty (30) days after the Effective Date or by such earlier
  deadline governing a particular Administrative Claim contained in an order of the Bankruptcy
  Court entered before the Effective Date. Holders of Administrative Claims who do not file such
  requests by the applicable bar date specified in this subsection shall be forever barred from
  asserting such Claims against the Debtor or any of their respective property. Requests for payment

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 12
                                      of 26



  of Administrative Claims included within a proof of claim are of no force and effect, and are
  disallowed in their entirety as of the Confirmation Date unless such Administrative Claim is
  subsequently filed in a timely fashion as provided herein.

                         (ii)     Professionals: All professionals or other entities requesting
  compensation or reimbursement of expenses pursuant to sections 327, 328, 330, 331, 503(b) and
  1103 of the Bankruptcy Code for services rendered before the Effective Date (including, without
  limitation, any compensation requested by any professional or any other entity for making a
  substantial contribution in the Debtor’ Bankruptcy Cases) shall file and serve on the Notice Parties
  an application for final allowance of compensation and reimbursement of expenses no later than
  forty-five (45) days after the Effective Date. Objections to applications of professionals for
  compensation or reimbursement of expenses must be filed and served on the Notice Parties and
  the professionals to whose application the objections are addressed no later than twenty-one (21)
  days after the date on which the application for allowance is served.

                          (iii) Post-Petition Tax Claims: All requests for payment of
  Administrative Claims and other Claims by a Governmental Unit for taxes (and for interest and/or
  penalties related to such taxes) for any tax year or period, which accrued or were assessed within
  the period from and including the Petition Date through and including the Effective Date (“Post-
  Petition Tax Claims”) and for which no bar date has otherwise been previously established, must
  be filed on or before the later of (i) forty-five (45) days following the Effective Date; and (ii) ninety
  (90) days following the filing with the applicable Governmental Unit of the tax return for such
  taxes for such tax year or period. Any holder of any Post-Petition Tax Claim that is required to file
  a request for payment of such taxes and does not file such a Claim by the applicable bar date shall
  be forever barred from asserting any such Post-Petition Tax Claim against the Debtor or their
  property, whether any such Post- Petition Tax Claim is deemed to arise prior to, on, or after the
  Effective Date.

                             ARTICLE V.
   CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

           5.1       Classified Claims.

          5.1.1 Class I – Administrative Claims. Each holder of an Allowed Administrative Claim
  shall receive from the Debtor with respect to such Allowed Claim, either (i) the amount of such
  Allowed Claim from the Debtor, in one (1) cash payment on the later of (a) the Effective Date, (b)
  the date that is sixty (60) days after a request for payment of the Claim is filed, (c) the date that is
  twenty (20) days after the Claim becomes an Allowed Claim; or (ii) such other treatment as may
  be agreed upon in writing by such holder; provided, however, that an Allowed Administrative
  Claim representing a liability incurred in the ordinary course of business shall be paid by the
  Debtor upon presentment or otherwise in accordance with the terms of the particular transaction
  and any agreements relating thereto. This Class is unimpaired.

         5.1.2 Class II – Priority Tax/Secured Claims. Each holder of a Class II Secured Tax
  Claim, if any exist, shall receive payment of its Allowed Claim, in full, within sixty (60) months
  from the Petition Date, with statutory interest accruing from the Petition Date, in equal monthly
  payments beginning sixty (60) days from the Effective Date. If the Reorganized Debtor sells the

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 13
                                      of 26



  Brownwood Facility, the remaining amounts of all Priority Tax/Secured Claims shall be paid from
  the proceeds, with any deficiency paid over the remaining months of the 60-month term.

          Lien for Trust Fund Taxes. Any state or federal tax authority that holds an Allowed Claim
  for Trust Fund Taxes shall hold, as of the Effective Date, a lien against the Brownwood Facility
  for unpaid Trust Fund Taxes until such time as the Allowed Claim for such Trust Fund Taxes is
  paid. Any beneficiary of such a lien shall not be entitled to enforce, or foreclose such lien unless
  the Debtor defaults under this Plan, and the default remains uncured, pursuant to the provisions of
  this Plan. The Reorganized Debtor shall have the right to sell the Brownwood Facility free and
  clear of such lien so long as all proceeds from the sale, net of usual and typical closing costs, are
  paid to satisfy the unpaid Trust Fund Taxes, even if such Allowed Claim for Trust Fund Taxes are
  not fully satisfied.

          5.1.3 Class III - Allowed Priority Non-Tax Claims. Allowed Priority Non-Tax Claims
  will be paid in full over sixty (60) months in equal monthly amounts.

          5.1.4 Class IV - Allowed General Unsecured Claims. Holders of Allowed General
  Unsecured Claims will receive pro-rata distributions representing ten percent (10%) of their
  Allowed Claim, paid in equal quarterly installments over a forty-eight (48) month period beginning
  September 30, 2022. In addition, Holders of Allowed General Unsecured Claims will receive pro-
  rata distributions of 10% of proceeds received from the prosecution, sale or settlement of the
  Reserved Claims, net of attorneys’ fees and costs paid by the Reorganized Debtor or related parties
  in connection with the prosecution of such claims. The Reorganized Debtor shall have the right to
  dispose of, sell, abandon or compromise the Reserved Claims in the exercise of its business
  judgment. This Class is impaired.

          5.1.5 Class V – Allowed Convenience Class Claims. Holders of Allowed General
  Unsecured Claims whose claims are at or below $500.00, or any other Allowed General
  Unsecured Claim which elects to be treated as an Allowed Convenience Class Claim, will receive
  100% of their Allowed Claim in two (2) equal monthly payments on the 60th and 90th day following
  the Effective Date. This Class is impaired.

          5.1.6 Class VI - Equity Interests. Existing Equity Interests shall be canceled, and new
  equity interests (i.e. limited partnership interests)shall be issued to Brian Alphonso [67%] and
  Charles Hinkle [32%], or entities designated by them prior to the Confirmation Hearing, in return
  for cancellation of all indebtedness owed to each of them, Alphonso Energy, LLC and/or Nestor
  Outcomes, LLC (other than the Post-Petition amounts provided by Alphonso Energy LLC and
  Glorious Splendor, LLC, entities owned by Brian Alphonso). The general partner shall hold a 1%
  limited partnership interest in the Reorganized Debtor.

         5.1.7 Payments to U.S. Trustee. Debtor shall make the payments and file all reports
  required by 28 U.S.C. § 1930(a)(6) until the Bankruptcy Case is closed, converted or dismissed.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 14
                                      of 26



                               ARTICLE VI
          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

           6.1       Assumption or Rejection of Executory Contracts and Unexpired Leases.

           On the Effective Date, except as otherwise provided in the Plan and/or designated in a List
  of Contracts to be Assumed ( the “Assumption List”) filed twenty-one (21) days prior to the date
  of the Confirmation Hearing, any unexpired lease or executory contract that has not been
  previously assumed or rejected by the Debtor pursuant to an order of the Bankruptcy Court
  (including any distribution agreement) shall be deemed rejected by the Debtor under Sections
  365(a) and 1123 of the Bankruptcy Code, other than those executory contracts and unexpired
  leases that are (a) identified in the Plan or the Assumption List or (b) subject to a motion to assume
  that is pending on the Effective Date. Entry of the Confirmation Order shall constitute approval of
  such assumptions, and the rejection of the executory contracts or unexpired leases. Any motions
  to assume executory contracts and unexpired leases pending on the Effective Date shall be subject
  to approval by the Bankruptcy Court on or after the Effective Date by a Final Order.

           6.2       Objections to Assumption and Assignments of Executory Contracts and
                     Unexpired Leases.

          To the extent that any party to an executory contract or unexpired lease identified for
  assumption, or any other party in interest, (a) asserts arrearages or damages pursuant to § 365(b)(1)
  of the Bankruptcy Code in an amount different from the amount, if any, set forth in Exhibit C, (b)
  has any objection to the proposed adequate assurance of future performance, if required, or (c) has
  any other objection to the proposed assumption, cure, or assignment of a particular executory
  contract or unexpired lease on the terms and conditions provided for herein, all such asserted
  arrearages and any other objections shall be filed and served within the same deadline and in the
  same manner established for filing objections to Confirmation.

          Failure to assert any arrearages different from the amount set forth in the Assumption List,
  or to file an objection within the time period set forth above, shall constitute consent to the
  assumption, cure, and assignment on the terms provided for herein, including acknowledgment
  that (a) the Debtor (or its assignee) has provided adequate assurance of future performance, if
  required, (b) the amount identified for “cure,” if any, is the amount necessary to compensate for
  any and all outstanding defaults or actual pecuniary loss under the executory contract or unexpired
  lease to be assumed, and (c) no other defaults exist under such executory contract or unexpired
  lease.

          If an objection to assumption and assignment is filed based upon lack of adequate assurance
  of future performance or otherwise, and the Court determines that the Debtor cannot assume the
  executory contract or unexpired lease either as proposed or as may be proposed pursuant to a
  modified proposal submitted by the Debtor, then the unexpired lease or executory contract shall
  automatically thereupon be deemed to have been rejected.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 15
                                      of 26



           6.3       Payments Related to Assumption of Executory Contracts and Unexpired
                     Leases.

          Any monetary defaults, including claims for actual pecuniary loss, under each executory
  contract and unexpired lease to be assumed under the Plan shall be satisfied, pursuant to Section
  365(b)(1) of the Bankruptcy Code, by payment of the cure amount, if any, as otherwise agreed by
  the parties, or as ordered by the Bankruptcy Court in Cash within 90 days following the Effective
  Date, or on such other terms as may be agreed to by the parties to such executory contract or
  unexpired lease. In the event of a dispute regarding (a) the amount of any cure or pecuniary loss
  payment, (b) the ability of Reorganized Debtor to provide adequate assurance of future
  performance under the contract or lease to be assumed, if required, or (c) any other matter
  pertaining to assumption, the cure or pecuniary loss payments required by § 365(b)(1) of the
  Bankruptcy Code shall be made within a reasonable time following entry of a Final Order resolving
  the dispute and approving assumption.

           6.4       Bar Date for Rejection Damages.

          If the rejection of an executory contract or unexpired lease pursuant to Article VI of the
  Plan gives rise to a Claim by the other party or parties to such contract or lease, such Claim, to the
  extent that it is timely filed and is a Allowed Claim, shall be classified in Class VII; provided,
  however, that the Unsecured Claim arising from rejection shall be forever barred and shall not be
  enforceable against a Debtor, Reorganized Debtor, its successor or properties, unless a proof of
  Claim is filed and served on the Reorganized Debtor within 30 days after the date of the notice of
  the entry of an order of the Bankruptcy Court authorizing rejection of the executory contract or
  unexpired lease, which order may be the Confirmation Order.

           6.5       No Admission.

         The listing by the Debtor of any contract or lease as an “executory contract” cannot be
  construed as an admission that such contract or lease is actually an executory contract under 11
  U.S.C. §365 and shall not be a binding admission against the Debtor or Reorganized Debtor.

           6.6       Rejection of Executory Contracts.

          Any and all Executory Contracts of the Debtor which, as of the Effective Date, have not
  been assumed or rejected, shall be deemed rejected. Any Claim arising out of the rejection of an
  Executory Contract shall be filed and served on counsel for the Debtor within thirty (30) days from
  the Effective Date. Any such Claims not filed by such date shall be discharged and forever barred.
  All creditors and parties in interest shall be authorized to file an objection to any proof of Claim
  based on the rejection of an Executory Contract pursuant to this Plan. The objection to any such
  proof of Claim shall be filed not later than one hundred and twenty days (120) after the Effective
  Date. Each Allowed Claim arising from the rejection of an Executory Contract shall be treated as
  an Allowed Class III General Unsecured Claim.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 16
                                      of 26



                                             ARTICLE VII.
                                        CONDITIONS PRECEDENT

           7.1       Conditions Precedent to Confirmation.

        This Plan shall not be confirmed unless and until the Bankruptcy Court has entered the
  Confirmation Order in a form and substance satisfactory to the Debtor in their sole discretion.

           7.2       Conditions Precedent to Effective Date.

          This Plan shall not become effective and operative unless and until the Effective Date
  occurs. The Effective Date shall occur after the following conditions have been satisfied; provided,
  however, that the Debtor in their sole discretion may waive any or all of the following conditions,
  whereupon the Effective Date shall occur without further action by any Person:

                 (a)     the Confirmation Order shall have been entered by the Bankruptcy Court
  and shall not be subject to a stay; and

                 (b)     the Bankruptcy Court shall have determined that the Debtor are duly
  authorized to take actions contemplated in the Plan; and

                   (c)    all other agreements contemplated by, or entered into pursuant to the Plan,
  shall have been duly and validly executed and delivered by the parties thereto and all conditions
  to their effectiveness shall have been satisfied or waived.

                                              ARTICLE VIII.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

           8.1       Distributions Generally.

          Distributions contemplated by the Plan shall be made by the Reorganized Debtor to all
  Allowed Secured Claims, all holders of executory contracts and unexpired leases assumed under
  Article VI and all Allowed Administrative Claims.

           8.2       Distributions on Disputed Claims.

          In the event of a Distribution to holders of Claims in a class or category in which there
  exist any Disputed Claims, the Reorganized Debtor shall not be required to make a Distribution
  until the disputed Claim becomes an Allowed Claim.

           8.3       Delivery of Distributions.

           Subject to Bankruptcy Rule 9010, distributions to holders of Allowed Claims will be made
  by mail (1) at the address of each such holder as set forth on the proofs of claim filed by such
  holders, or (2) at the address reflected in the Schedules filed by the Debtor if no proof of claim is
  filed. If any Distribution is returned as undeliverable, the Reorganized Debtor shall use reasonable
  efforts to determine such Claimant’s then current address. After reasonable efforts, if the
  Reorganized Debtor still cannot determine such Claimant’s then-current address, no further

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 17
                                      of 26



  Distributions shall be made to such Claimant unless and until they are notified of such Claimant’s
  then-current address. If the current address of a Claimant entitled to a Distribution has not been
  determined within six (6) months of the date on which the Distribution was first attempted to be
  made, then such Claimant: (i) shall no longer be a Claimant; and (ii) shall be deemed to have
  released such Claim.

           8.4       Uncashed Checks.

          Checks issued in respect of Allowed Claims will be null and void if not negotiated within
  ninety (90) days after the date of issuance thereof, and such Claimant will forfeit its right to such
  Distribution. In no event shall any funds escheat to the State of Texas.

           8.5       Compliance with Tax Requirements.

          In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
  with all withholding and reporting requirements imposed on it by any Governmental Unit, and all
  Distributions pursuant to this Plan shall be subject to such withholding and reporting requirements.

                                       ARTICLE IX.
                      PROVISIONS FOR THE RESOLUTION OF OBJECTIONS
                             TO CLAIMS AND EQUITY INTERESTS

           9.1       Objections to Claims or Equity Interests.

          Notwithstanding the occurrence of the Effective Date, and except as to any Claim that has
  been Allowed before the Effective Date including any order of the Bankruptcy Court pursuant to
  §506 of the Bankruptcy Code, only the Reorganized Debtor may object to the Allowance of any
  Claim against the Debtor or seek estimation of any Claim on any grounds permitted by the
  Bankruptcy Code. All objections to Claims must be brought by filing the appropriate pleading in
  the Bankruptcy Court before the first Business Day that is 60 days after the Effective Date, but the
  Bankruptcy Court may approve a later date on the Reorganized Debtor’s motion filed (but not
  necessarily heard) before the first Business Day that is 60 days after the Effective Date. Debtor
  may contest the amount of attorney’s fees and interest sought by any creditor. Debtor reserves the
  right to object to or seek estimation of any claims. A VOTE FOR THE PLAN WILL NOT
  EXCULPATE OR EXCLUDE ANY CLAIMANT FROM HAVING ITS CLAIM OBJECTED
  TO OR BE DEEMED AN ALLOWANCE OF SUCH CLAIM.

         Prior to the expiration of thirty (30) days from the date of service of the objection, the
  Claimant whose Claim or Equity Interest was the subject of the objection must file with the
  Bankruptcy Court and serve a response to the objection upon the party who filed such objection,
  and the Debtor. Failure to file and serve such a response within the thirty (30) days shall cause the
  Bankruptcy Court to grant the relief requested in the objection.

           9.2       Amendments to Claims; Claims filed After the Confirmation Date.

         Except as otherwise provided in this Plan, a Claim may not be filed with the Bankruptcy
  Court or amended after the Confirmation Date without the prior authorization of the Bankruptcy
  Court. Except as otherwise provided in this Plan, any new or amended Claim filed without the

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 18
                                      of 26



  prior approval of the Bankruptcy Court after the Confirmation Date shall be deemed disallowed in
  full and expunged without any action by any person.

                                           ARTICLE X.
                                  MEANS FOR IMPLEMENTING PLAN

          On the Effective Date, all of the Debtor’s property will re-vest in the Reorganized Debtor.
  All Cash necessary for the Reorganized Debtor to make payments pursuant to the Plan shall be
  obtained from operations of the Debtor and, potentially, a sale of the Brownwood Facility.
  Reorganized Debtor may issue additional equity and/or limited partnership interests as deemed
  reasonable and necessary in the exercise of its business judgment. Reorganized Debtor shall have
  full and complete authority to prosecute, settle, compromise, sell or abandon the Reserved Claims
  and other causes of action as it deems appropriate in its business judgment.

           10.1      Sources of Payments.

          Payments under this Plan will be made from a combination of money generated from the
  pre and post-confirmation operations of the Reorganized Debtor, the sale of the Brownwood
  Facility (if sold), the proceeds of Reserved Causes of Action and, in the discretion of the
  Reorganized Debtor, additional equity and/or limited partnership interests as deemed reasonable
  and necessary in the exercise of its business judgment.

           10.2      Effect on Mutual Release and Settlement Agreement.

         Nothing contained herein shall amend or alter the terms of that “Mutual Release and
  Settlement Agreement” approved by the Bankruptcy Court by Order dated April 27, 2022
  [Dkt. 120].

                                       ARTICLE XI.
                       EFFECT OF REJECTION BY ONE OR MORE CLASSES

           11.1      Impaired Classes to Vote.

          Each impaired class shall be entitled to vote separately to accept or reject this Plan. A
  holder of a Disputed Claim which has not been temporarily allowed for purposes of voting on this
  Plan may vote only in an amount equal to the portion, if any, of such Claim shown as fixed,
  liquidated, and undisputed in the applicable Debtor’s Schedules. The Debtor reserve the right to
  request that the Bankruptcy Court estimate the amount of any Claim for purposes of voting on the
  Plan.

           11.2      Acceptance by Class.

          A class of Claims shall have accepted this Plan if this Plan is accepted by at least two thirds
  (2/3) in amount and more than one half (1/2) in number of the Allowed Claims of such class that
  have voted to accept or reject this Plan.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 19
                                      of 26



           11.3      Reservation of Cramdown Rights.

         In the event that any impaired class shall fail to accept this Plan in accordance with section
  1129(a) of the Bankruptcy Code, the Debtor reserve the right to request that the Bankruptcy Court
  confirm this Plan in accordance with the provisions of the section 1129(b) of the Bankruptcy Code.

                                         ARTICLE XII.
                                   EFFECT OF CONFIRMATION

           12.1      Generally.

          As of the Confirmation Date, this Plan shall be binding upon the Debtor, all Claimants, and
  all other Persons who are affected in any manner by this Plan, subject to the occurrence of the
  Effective Date and the satisfaction or waiver of the conditions set forth in Article VII.

           12.2      Property.

           All property of the Estate will vest in the Reorganized Debtor on the Effective Date.

                                        ARTICLE XIII.
                                  RETENTION OF JURISDICTION

           13.1      Exclusive Bankruptcy Court Jurisdiction.

          Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
  Date, the Bankruptcy Court shall retain and have such jurisdiction over the Bankruptcy Case as is
  legally permissible, including, without limitation, for the following purposes:

                  (a)     To allow, disallow, determine, liquidate, classify or establish the priority or
  secured or unsecured status of, or to estimate, any Claim or Equity Interest, including, without
  limitation, resolution of any request for payment of any Administrative Claim and the resolution
  of any and all objections to the allowance or priority of claims or interests;

                  (b)    To determine any and all applications or motions pending before the
  Bankruptcy Court on the Effective Date of this Plan, including, without limitation, any motions
  for the rejection, assumption or assumption and assignment of any Executory Contract;

                 (c)     To ensure that Distributions to holders of Allowed Claims are accomplished
  pursuant to the provisions of this Plan;

                 (d)    Except as otherwise provided in this Plan, to enter orders approving any
  requests for compensation for professional services rendered and costs incurred in connection with
  these bankruptcy proceedings or in connection with this Plan and incident to these bankruptcy
  proceedings;

                  (e)    To determine all controversies, suits and disputes that may arise in
  connection with the interpretation, enforcement or consummation of this Plan or any person’s
  obligations in connection with this Plan;

  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 20
                                      of 26



                 (f)     To consider and act upon the compromise and settlement of any claim or
  cause of action by or against the Debtor;

                  (g)    To decide or resolve any and all applications, motions, adversary
  proceedings, contested or litigated matters, and any other matters, or grant or deny any applications
  involving a Debtor that may be pending on the Effective Date or that may be brought by the Debtor
  after the Effective Date, including claims arising under Chapter 5 of the Bankruptcy Code;

                 (h)    To issue orders in aid of execution and implementation of this Plan to the
  extent authorized by 11 U. S.C. § 1142 or provided by the terms of this Plan;

                (i)    To decide issues concerning the federal or state tax liability of the Debtor
  which may arise in connection with the confirmation or consummation of this Plan; and

                     (j)      To enter an order closing the Bankruptcy Case.

           13.2      Limitation on Jurisdiction.

          In no event shall the provisions of this Plan be deemed to confer the Bankruptcy Court
  jurisdiction greater than that established by the provisions of 28 U.S.C. §§ 157 and 1334.

                                           ARTICLE XIV.
                                     MISCELLANEOUS PROVISIONS

           14.1      Effectuating Documents and Further Transactions.

          The Debtor and, after the Effective Date, Reorganized Debtor is authorized, required and
  directed to execute, deliver, file or record such contracts, instruments, releases, indentures and
  other agreements or documents and take such actions as may be reasonably necessary or
  appropriate to effectuate, implement and consummate the Plan without any further evidence of the
  terms and conditions of the Plan, the Reorganized Debtor will be heretofore and without any
  further need of court orders deemed to be authorized to execute any of the aforesaid documents or
  agreements or to take any of the aforementioned steps to confirm, implement and consummate the
  Plan. The Plan will be binding upon the Debtor, the holders of Claims, and the holders of Equity
  Interests; and the Court may issue such orders in aid of consummation of the Plan under sections
  105 and 1142 of the Bankruptcy Code.

           14.2      Severability.

         In the event that the Bankruptcy Court determines, prior to the Confirmation Date, that any
  provision in the Plan is invalid, void or unenforceable, such provision shall be invalid, void or
  unenforceable with respect to the holder or holders of such Claims or Equity Interests as to which
  the provision is determined to be invalid, void or unenforceable. The invalidity, voidness or
  unenforceability of any such provision shall in no way limit or affect the enforceability and
  operative effect of any other provision of the Plan.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 21
                                      of 26



           14.3      Final Allowance.

         Notwithstanding anything contained above, all distributions to Classes under this Plan will
  only be made after the creditors in said Classes have their Claims fully fixed and allowed by the
  Court. However, objections on claims in one Class will not preclude distribution to creditors in
  other Classes where no disputes exist regarding Claims in the other Classes.

           14.4      Consummation.

          Upon the execution of the agreements and documents contemplated by this Plan and the
  commencement of payments, the Plan shall be deemed consummated, and this case shall be closed.
  Until substantial consummation occurs, the Debtor may move for and be granted modifications of
  this Plan.

           14.5      Distribution Agent.

           The Reorganized Debtor shall act as disbursing agent under the Plan as provided herein.
  The rights and duties of the Debtor shall be transferred to the Reorganized Debtor after
  Confirmation, so that the Debtor will receive all rights for the Debtor and be imbued and granted
  all the rights of a trustee in bankruptcy to pursue causes of action after Confirmation.

           14.6      Exemption from Certain Transfer Taxes and Recording Fees.

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers from the Debtor, or any
  agreement regarding the transfer of title to or ownership of any of the Debtor’s real or personal
  property, will not be subject to any document recording tax, stamp tax, conveyance fee, sales tax,
  intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax,
  Uniform Commercial Code filing or recording fee, or other similar tax or governmental
  assessment, and the Confirmation Order will direct the appropriate state or local governmental
  officials or agents to forego the collection of any such tax or governmental assessment and to
  accept for filing and recordation any of the forgoing instruments or other documents without the
  payment of any such tax or governmental assessment.

           14.7      Further Authorization.

          The Debtor shall be entitled to seek such orders, judgments, injunctions, and rulings as they
  deem necessary to carry out the intentions and purposes, and to give full effect to the provisions,
  of this Plan.

           14.8      Means of Cash Payment.

          Payments of Cash made pursuant to this Plan shall be made, at the option and sole
  discretion of the Debtor, by checks drawn on, or wire transfer from, a domestic bank selected by
  the Debtor.




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 22
                                      of 26



           14.9      Setoffs.

         The Debtor may, pursuant to applicable law, but shall not be required to, set off against
  any Claim the payments or other distributions to be made pursuant to this Plan in respect of such
  Claim, claims of any nature whatsoever that the Debtor or the Debtor may have against the holder
  of such Claim; provided, however, that neither the failure to do so nor the allowance of any Claim
  hereunder shall constitute a waiver or release by the Debtor of any such claim that the Debtor or
  the Debtor may have against such holder.

           14.10 Exculpation; Limitation of Liability; and Releases

          None of the Debtor, Reorganized Debtor, its counsel, or any other party in interest, or any
  of their respective members or former partners, general partners, members, agents, employees,
  representatives, financial advisors, attorneys or affiliates, or any of their successors or assigns,
  shall be liable to any party who was served with a copy of the confirmation order prior to its entry
  by the Bankruptcy Court for any act or omission in connection with, relating to or arising out of
  the Chapter 11 Case, the negotiation and pursuit of confirmation of the Plan, the consummation of
  the Plan or the administration of the Plan (the “Chapter 11 Activities”), except for their acts or
  omissions constituting willful misconduct or gross negligence, as finally determined by a court of
  competent jurisdiction, and in all respects are entitled to reasonably rely upon the advice of counsel
  with respect to their duties and responsibilities in connection with the Chapter 11 Activities. No
  holder of a Claim, or any other party in interest, including their respective agents, employees,
  representatives, financial advisors, attorneys or affiliates, have any right of action against the
  Debtor, the Reorganized Debtor, their counsel, for any act or omission in connection with the
  Chapter 11 Activities, except for their acts or omissions constituting willful misconduct or gross
  negligence as finally determined by a court of competent jurisdiction. Nothing herein shall be
  construed to release any person or entity except as may be specifically provided in this Plan,
  from liability to third parties for prepetition conduct or claims, and such claims are fully retained
  for the purpose of this Plan.

           14.11 Default.

         Any person or entity asserting the existence of a default by the Reorganized Debtor of any
  provision of this Plan, including but not limited to payment default shall provide written notice of
  such asserted default to the Reorganized Debtor and its counsel by certified mail and e-mail, and
  the Reorganized Debtor shall have twenty (20) days to cure the alleged default or file a motion
  seeking relief from this Court.

           14.12 Amendment or Modification of This Plan.

          Subject to section 1127 of the Bankruptcy Code and, to the extent applicable,
  sections 1122, 1123 and 1125 of the Bankruptcy Code, the Debtor reserve the right to alter, amend,
  or modify this Plan at any time prior to or after the Confirmation Date, including, without limitation
  the right to withdraw the Plan. A holder of a Claim that has accepted this Plan shall be deemed to
  have accepted this Plan, as altered, amended or modified, if the proposed alteration, amendment
  or modification does not materially and adversely change the treatment of the Claim of such holder.



  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 23
                                      of 26



           14.13 Severability of Plan Provisions.

         If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
  Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
  power, upon the request of the Debtor to alter and interpret such term or provision to make it valid
  or enforceable to the maximum extent practicable, consistent with the original purpose of the term
  or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
  applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
  the remainder of the terms and provisions of this Plan shall remain in full force and effect and shall
  in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
  Confirmation Order shall constitute a judicial determination that each term and provision of this
  Plan, as it may have been altered or interpreted in accordance with the foregoing, is valid and
  enforceable pursuant to its terms.

           14.14 Revocation, Withdrawal, or Non-Consummation.

          The Debtor reserves the right to revoke or withdraw this Plan at any time prior to the
  Confirmation Date and to file other plans of reorganization. If the Debtor revokes or withdraws
  this Plan, or if Confirmation or consummation of this Plan does not occur, then (i) this Plan shall
  be null and void in all respects, (ii) any settlement or compromise embodied in this Plan (including
  the fixing or limiting to an amount any Claim or Class of Claims or any release contemplated
  hereby), assumption of executory contracts or leases effected by this Plan, and any document or
  agreement executed pursuant to this Plan, and no acts taken in preparation for consummation of
  this Plan, shall (A) constitute or be deemed to constitute a waiver or release of any Claims by or
  against, or any Equity Interests in, the Debtor or any other person, (B) prejudice in any manner the
  rights of the Debtor or any person in any further proceedings involving the Debtor, or (C) constitute
  an admission of any sort by the Debtor or any other person.

           14.15 Due Authorization by Claimants.

          Each and every Claimant who elects to participate in the Distributions provided for herein
  warrants that such Claimant is authorized to accept, in consideration of its Claim against the
  Debtor, the Distributions provided for in this Plan, and that there are no outstanding commitments,
  agreements, or understandings, express or implied, that may or can in any way defeat or modify
  the rights conveyed or obligations undertaken by the Claimant under this Plan.

           14.16 Filing of Additional Documentation.

          On or before the Effective Date, the Debtor may file with the Bankruptcy Court such
  agreements and other documents as may be reasonably necessary or appropriate to effectuate and
  further evidence the terms and conditions of this Plan. Debtor shall file and serve a notice of the
  Effective Date within five business days from the Effective Date.

           14.17 Governing Law.

        Except to the extent the Bankruptcy Code or the Bankruptcy Rules are applicable, the rights
  and obligations arising under this Plan shall be governed by, and construed and enforced in


  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 24
                                      of 26



  accordance with the laws of the State of Texas, without giving effect to the principles of conflicts
  of law thereof.

           14.18 Successors and Assigns.

         The rights, benefits and obligations of any person named or referred to in this Plan shall be
  binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign
  of such person.

           14.19 Notices.

           Any notice required to be given under this Plan shall be in writing. Any notice that is
  allowed or required hereunder except for notice of change of address shall be considered complete
  on the earlier of (a) three (3) days following the date the notice is sent by United States mail,
  postage prepaid, or by overnight courier service, or in the case of mailing to a non-United States
  address air mail, postage prepaid, or personally delivered; (b) the date the notice is actually
  received by facsimile or computer transmission; or (c) three (3) days following the date the notice
  is sent.

                     (a)      If to the Debtor, at:

                              Loadcraft Industries Ltd.
                              206A Blackburn Street
                              PO Box 1429
                              Brady, TX 76825

                              and to:

                              Waller, Lansden Dortch & Davis, LLP
                              Attn: Eric J. Taube, Mark C. Taylor
                              100 Congress Avenue, 18th Floor
                              Austin, Texas 78701
                              E-mail: eric.taube@wallerlaw.com, mark.taylor@wallerlaw.com

                     (b)      If to the U.S. Trustee, at:

                              United States Trustee
                              Western District of Texas, Austin Office
                              903 San Jacinto, Room 230
                              Austin, Texas 78701

           14.20 U.S. Trustee Fees.

         All fees payable pursuant to Section 1930 of title 28 of the United States Code, as
  determined by the Bankruptcy Court at the hearing pursuant to section 1128 of the Bankruptcy
  Code, shall be paid on or before the Effective Date. The Reorganized Debtor shall timely file all



  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 25
                                      of 26



  post-confirmation reports as required by the U.S. Trustee until this case is closed, converted or
  dismissed.

           14.21 Implementation.

          The Debtor and, after the Effective Date, Reorganized Debtor shall take all steps and
  execute all documents necessary to implement this Plan including but not limited to appropriate
  releases, purchase and sale agreements, brokerage contracts, deeds and bills of sale necessary to
  effectuate the provisions contained in this Plan.

           14.22 No admission.

           Neither the filing of this Plan, nor any statement or provision contained herein, nor the
  taking by the Debtor of any action to enforce and implement this Plan shall be deemed an
  admission by the Debtor with respect to any matter set forth herein, including, without limitation,
  liability on any Claim or Equity Interest or the propriety of the classification of any Claim or
  Equity Interest.

           14.23 Conflicts.

          In the event that provisions of the Disclosure Statement and provisions of this Plan conflict,
  the terms of this Plan shall govern.

                                  [SIGNATURE PAGE FOLLOWS]




  040872-18219/4893-0244-8936.3
21-11018-tmd Doc#148 Filed 07/11/22 Entered 07/11/22 15:47:28 Main Document Pg 26
                                      of 26



  Dated: July 11, 2022

                                            Respectfully submitted,

                                            LOADCRAFT INDUSTRIES, LTD.




                                            By: Charles E. Hinkle
                                            Its: CEO




  Respectfully submitted,

  WALLER, LANSDEN, DORTCH & DAVIS, LLP

  /s/ Mark C. Taylor
  Eric J. Taube (Bar No. 19679350)
  Mark C. Taylor (Bar No. 19713225)
  William R. “Trip” Nix, III (Bar No. 24092902)
  100 Congress Avenue, Suite 1800
  Austin, Texas 78701
  (512) 685-6400
  (512) 685-6417 (FAX)
  Email: Eric.Taube@wallerlaw.com
          Mark.Taylor@wallerlaw.com
          Trip.Nix@wallerlaw.com

  Attorneys for the Debtor and
  Debtor in Possession




  040872-18219/4893-0244-8936.3
